

On Remand from Supreme Court of Alabama

BEATTY, Retired Justice.
A portion of the prior judgment of this court has been reversed by the Supreme Court of Alabama. On remand to this court, and in compliance with the supreme court’s opinion of June 19, 1998, Ex parte Atmore Community Hospital, 719 So.2d 1190 (Ala.1998), the judgment of the trial court is now affirmed.
The foregoing opinion was prepared by Sam A. Beatty, Retired Justice, Supreme Court of Alabama, while serving on active duty status as a judge of this court under the provisions of § 12-18-10(e), Ala.Code 1975.
' AFFIRMED.
All the judges concur.
